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14
15                     UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
17   DONALD MCDOUGALL, an                              Case No. 2:20-cv-02927
     individual; JULIANA GARCIA, an
18
     individual; SECOND AMENDMENT                       PLAINTIFFS’ NOTICE OF
19   FOUNDATION; CALIFORNIA GUN                         MOTION AND MOTION FOR
20   RIGHTS FOUNDATION; and                             PRELIMINARY INJUNCTION;
     FIREARMS POLICY COALITION,                         MEMORANDUM OF POINTS AND
21   INC.,                                              AUTHORITIES IN SUPPORT
22                         Plaintiffs,                  THEREOF
           v.
23                                                      Judge: Hon. Consuelo B. Marshall
24   COUNTY OF VENTURA,
     CALIFORNIA; BILL AYUB, in his                      Date: Tuesday May 12, 2020
25   official capacity; WILLIAM T. FOLEY,               Time: 10:00 a.m.
26   in his official capacity, ROBERT                   Courtroom: 8B
     LEVIN, in his official capacity; and
27
     VENTURA COUNTY PUBLIC                              Filed concurrently herewith:
28   HEALTH CARE AGENCY,                                (1) Declaration of Donald McDougall


                                                   –1–
                NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION (CASE NO. 2:20-cv-02927)
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 1                                                      (2) Declaration of Juliana Garcia
                                  Defendants.           (3) Declaration of Alan Gottlieb
 2
                                                        (4) Declaration of Gene Hoffman
 3                                                      (5) Declaration of Brandon Combs
 4                                                      (6) Declaration of Ronda Baldwin-
                                                        Kennedy
 5
 6
 7   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 8
           PLEASE TAKE NOTICE that on Tuesday May 12, 2020, at 10:00 a.m., or
 9
10   as soon thereafter as counsel may be heard,1 before the Honorable Consuelo B.
11
     Marshall, in Courtroom 8B of the United States District Court for the Central
12
13   District of California, located at First Street Courthouse, 350 W. First Street, Los
14   Angeles, California 90012, Plaintiffs Donald McDougall, Juliana Garcia, Second
15
     Amendment Foundation, California Gun Rights Foundation, and Firearms Policy
16
17   Coalition, Inc. (collectively, “Plaintiffs”) will hereby and do move for a
18
     Preliminary Injunction enjoining Defendants County of Ventura, California, Bill
19
20   Ayub, William T. Foley, Robert Levin, and the Ventura County Public Health

21   Agency (collectively, “Defendants”) from enforcing county or state stay-at-home
22
     or other emergency orders against the Plaintiffs and others similarly situated so as
23
24
     1
25     Plaintiffs request, pursuant to L.R. 6-1 (stating the Court may order a shorter
     time), that this Court act on this motion on an expedited basis as Plaintiffs’
26   fundamental, constitutionally guaranteed right to keep and bear arms has been and
27   continues to be impermissibly infringed as a result of Defendants’ Orders and
     actions.
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                NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION (CASE NO. 2:20-cv-02927)
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 1   to prevent them from engaging in the otherwise lawful acquisition of firearms,
 2
     firearms accessories, and or ammunition.
 3
 4          This Motion is pursuant to Rule 65 of the Federal Rules of Civil Procedure

 5   and Local Rule 65-1, on the grounds that immediate and irreparable injury will
 6
     result to Plaintiffs unless the activities described above are enjoined pending trial
 7
 8   of this action.
 9
            The Motion is based on this Notice and Motion, attached Memorandum of
10
11   Points and Authorities, the Declarations of Donald McDougall, Juliana Garcia,

12   Alan Gottlieb, Gene Hoffman, and Brandon Combs, including exhibits,
13
     concurrently filed, the pleadings and papers on file in this action, and such other
14
15   evidence and argument as may be permitted at the hearing.
16
17   Dated: April 14, 2020                      LAW OFFICE OF RONDA BALDWIN-KENNEDY
18
                                                    /s/ Ronda Baldwin-Kennedy
19                                                  Ronda Baldwin-Kennedy
20
                                                    /s/ Raymond DiGuiseppe
21                                                  Raymond DiGuiseppe
22
                                                    Attorneys for Plaintiffs
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26
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                 NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION (CASE NO. 2:20-cv-02927)
